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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


 HEATHER F., 1                                            Civil No. 23-2644 (JRT/DJF)

                        Plaintiff,
                                                            ORDER ON REPORT
 v.                                                       AND RECOMMENDATION

 MARTIN J. O’MALLEY,
 Commissioner of Social Security,

 Defendant.


       Kira Treyvus, KONOSKI & PARTNERS PC, 305 Broadway, 7th Floor, New
       York, NY 10007, for plaintiff.

       Marisa Silverman, SOCIAL SECURITY ADMINISTRATION, Office of Program
       Litigation Office 4, 6401 Security Boulevard, Baltimore, MD 21235, for
       respondent.

       The above-entitled matter came before the Court upon the Report and

Recommendation of the United States Magistrate Judge. No objections have been filed

to the Report and Recommendation in the time period permitted.

       Based upon the Report and Recommendation of the Magistrate Judge, and all the

files, records and proceedings herein,

       IT IS HEREBY ORDERED that:

       1.       Plaintiff’s Request for Relief (ECF No. [9]) is DENIED;


       1
        This District has adopted a policy of using only the first name and last initial of
any nongovernmental parties in orders in Social Security matters.
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    2.       Defendant’s Request for Relief (ECF No. [16]) is GRANTED;

    3.       The Decision is AFFIRMED; and

    4.       Plaintiff’s Complaint (ECF No. [1]) is DISMISSED WITH PREJUDICE.

    LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: June 27, 2024                          ________s/John R. Tunheim_________
at Minneapolis, Minnesota.                             JOHN R. TUNHEIM
                                                  United States District Judge




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